   Case 1:25-cv-00511-CRC           Document 20       Filed 03/14/25     Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON,
            Plaintiff,
                                                             Case No. 1:25-cv-00511
        v.

 U.S. DOGE SERVICE, et al.,
             Defendants.




     DEFENDANTS’ MOTION FOR PARTIAL RECONSIDERATION OF
  THIS COURT’S MARCH 10, 2025 OPINION AND ORDER, FOR AN ORDER
  SETTING AN EXPEDITED BRIEFING SCHEDULE, AND FOR A STAY OR
  EXTENSION OF THIS COURT’S MARCH 10, 2025 OPINION AND ORDER

       The United States DOGE Service (USDS) respectfully moves this Court for

reconsideration of the portions of this Court’s March 10, 2025 opinion and order directing

USDS to process the Freedom of Information Act Request addressed to USDS, directing

USDS to provide an estimate of the volume of records responsive to that request by March

20, 2025, and further directing USDS to propose a schedule for expedited processing and

rolling production of responsive records by March 27, 2025. USDS further requests that

this Court order expedited briefing on USDS’s forthcoming motion for summary judgment,

and set the following briefing schedule:

       USDS shall file its motion on or before March 19, 2025.

       Plaintiff Citizens for Responsibility and Ethics in Washington (CREW) shall file

its opposition to USDS’s motion on or before March 24, 2025.

       USDS may file a reply in support of its motion on or before March 26, 2025.




                                            1
   Case 1:25-cv-00511-CRC          Document 20      Filed 03/14/25      Page 2 of 2




       USDS further requests that the Court enter a stay or extend the dates described

above until the Court rules on this reconsideration motion and USDS’s forthcoming

summary judgment motion.

       Undersigned counsel conferred with counsel for CREW. CREW opposes the relief

requested in this motion.

       In support of this Motion, USDS refers the Court to the accompanying

Memorandum in Support. Proposed orders reflecting the requested relief are attached.



                                    Respectfully submitted,

                                    YAAKOV M. ROTH
                                    Acting Assistant Attorney General

                                    ELIZABETH J. SHAPIRO
                                    Deputy Branch Director, Federal Programs Branch

                                    /s/ Andrew M. Bernie
                                    Andrew M. Bernie
                                    Trial Attorney
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L Street, NW
                                    Washington, D.C. 20005
                                    (202) 353-7203
                                    andrew.m.bernie@usdoj.gov

                                    Attorneys for Defendant




                                           2
